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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 PERKINS COIE LLP,

      Plaintiff,
 v.                                               Civil Action No. 1:25-cv-00716-BAH

 U.S. DEPARTMENT OF JUSTICE, et al.

      Defendants.


                                 [PROPOSED] ORDER

      The motion of 346 Former Judges for leave to file an amicus curiae brief in support of

Plaintiffs’ motion for summary judgment is GRANTED.

Dated: __________



                                  Judge Beryl A. Howell
